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                        EXHIBIT A
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December 27, 2021


Dear Judge Donato,
Words cannot even begin to describe the feelings of sorrow and remorse I have. The reckless
disregard of life shown by someone I was affiliated with disgusts me to my core. I am
unrecognizable to myself, and I feel nothing but shame and guilt. I express my sincerest
condolences to the victims' families.
I will always have to live with the knowledge that someone in my circle committed such
atrocious acts. I will always have to live with the guilt that I made wrong choices. While it's not
the first time I've made a bad choice, the gravity of that choice and my actions will forever be a
burden on my heart and mind more than anything I've faced in my life.

I prided myself as someone who thought they knew what honor was, and when faced with the
choice to be honorable or cowardly I responded with cowardice with no regard on how it would
affect my future, the future of my family, and others. I told Carillo to factory reset his phone
without hesitation. At the time I lied to myself, and said it was for the greater good. But now I
know the selfishness and fear that surrounded that choice. For that I accept the fullest of
responsibilities.

I do not write these words to beg for mercy, I only ask for understanding. I ask that I may be
allowed to try to right my course and regain my honor.

I have tried to live my life in service to my fellow man, and wish to somehow continue that. I
know that until I face down the many demons that are attached to my conscience that I will not
be effective in my goals.

I know that I must be punished for what I have done, but I want you to know that I have
punished myself everyday since leaving Santa Rita Jail. I have contemplated my failures and
relive the decision making process that led to our unfortunate introduction. I do know one thing
however, and that is that while I made a cowardly choice I am no monster. I have spent the last
nine months of my life only trying to understand myself to make myself better. I have continued
to try to help my community and be an example for my fellow Veterans.

I leave you with this, I swear that as long as I live I will always be careful to give a second
thought before acting. I will move forward proud and honorably. I will be the person I have tried
to be and that I know I can be, and I will do better than I did yesterday.

Thank you for your consideration.

Sincerely,
Jessie Rush
